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               IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF ARKANSAS
                        NORTHERN DIVISION

JENNIFER TYLER                                                   PLAINTIFF

V.                           No. 3:22-CV-00096-JTR

KILOLO KIJAKAZI, Acting Commissioner,
Social Security Administration                                DEFENDANT

                                  JUDGMENT

      Consistent with the Order that was entered today, it is CONSIDERED,

ORDERED, and ADJUDGED that the Commissioner’s decision is AFFIRMED.

Judgment is entered in favor of the Defendant.

      DATED this 7th day of April, 2023.



                                      ___________________________________
                                      UNITED STATES MAGISTRATE JUDGE
